Case 2:12-md-02323-AB Document 7545-1 Filed 04/24/17 Page 1of4

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL LEAGUE No. 12-md-2323 (AB)
» PLAYERS’ CONCUSSION INJURY LITIGATION
MDL No. 2323
THIS DOCUMENT RELATES TO:
. oo, PETITION TO ESTABLISH
Plaintiffs’ Master Administrative Long Form ATTORNEY’S LIEN

Complaint and

RODNEY BAILEY, Plaintiff,
USDC, EDPA, Docket No. 2:12-cv-05372-AB

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Now comes the Petitioner, Jason E. Luckasevic, Esquire for Goldberg, Persky & White,

P.C., ““GPW”) pursuant to an executed retainer agreement, and states:

1, Petitioners are attorneys at law admitted to practice before the Courts of
Pennsylvania, and file this Petition to establish a lien for attorney’s fees as set forth hereinafter.

2. On or about June 14, 2012, Petitioners, Jason E. Luckasevic and GPW were
retained and employed by the Plaintiff, Rodney Bailey, pursuant to a contingency fee agreement
for legal services, to pursue a claim for injuries and damages allegedly caused by the National
Football League’s conduct associated with football-related concussions, head, and brain injuries.

3. Mr. Bailey’s contingency fee agreement contains the following terms:

I agree that the attorney’s fees for services rendered shall be forty percent (40%) of

the gross amount that is received or collected by reason of any suit or by reason of

Case 2:12-md-02323-AB Document 7545-1 Filed 04/24/17 Page 2 of 4

any settlement, unless a different percentage is required by applicable state law, plus
reimbursement of all advanced costs if an action is filed in court or arbitration.

Furthermore, on September 17, 2014, GPW notified clients that they were
reducing the fee to twenty-five (25%) percent.

The agreement also states that “It is understood the litigation may involve
multiple plaintiffs and all costs incurred by my attorneys during this litigation may be
pro-rated among each plaintiff.”

Furthermore, the agreement states that “J understand that all such costs of
prosecution that I may owe on any recovery I may receive as a result of this
representation will be deducted from my settlement or judgment proceeds. ”

Finally, the Retainer Agreement states that “Jt is agreed and understood that this
employment is upon a contingent fee basis, and if no recovery is made, I will not be

indebted to my said attorneys for any sum whatsoever as attorney’s fees or costs.”

4, When Petitioners entered into this contract with Plaintiff, Petitioners through
originating the litigation entered into the extreme risk and the entire expected expense of the
ligation.

5, From the date the Petitioner was authorized to proceed on behalf of the Plaintiff,
the Petitioner has actively and diligently investigated, prepared, and pursued Plaintiffs claims,
and has taken all steps necessary to prosecute those claims including, but not limited to,
correspondence and communications with the client, preparation and review of client’s factual

and legal circumstances, retaining experts, drafting and providing client updates, analyzing
Case 2:12-md-02323-AB Document 7545-1 Filed 04/24/17 Page 3 of 4

Plaintiff's medical status and need for medical testing, and complying with every step of the
Case Management Order and/or settlement agreement.
6. The Plaintiff has discharged the Petitioners as his attorneys in this matter, and it is
expected that a new attorney will be pursuing representation to the Plaintiff in this action.
7. Petitioners were not terminated due to any malfeasance or other improper action.
8. The Petitioners claim the right to have a lien for attorney’s contingent fees and
expenses established and enforced upon any sums to be derived from any settlement or judgment
obtained or to be obtained by Plaintiff in this action.
WHEREFORE, the Petitioners pray:
(1) That an attorney’s lien be established;
(2) That the amount of the lien be determined;
(3) That the Court order that Petitioner be entitled to enforce an attorney’s lien against
the proceeds to be derived from any settlement or judgment in this action;
(4) That the Defendant or the Defendant’s insurer be prohibited from paying to the
Plaintiff and/or his present lawyer any sums of money until said lien has been
satisfied; and

(5) For such other further relief as this Court deems just.

Dated: April 24, 2017 Respectfully submitted,

GOLDBERG, PERSKY & WHITE, P.C.

/s/_ Jason E. Luckasevic
Jason E. Luckasevic, Esquire
PA Bar No. 85557

11 Stanwix Street, Suite 1800
Pittsburgh, PA 15222
Phone: 412-471-3980

Fax: 412-471-8308
jluckasevic@gpwlaw.com

Case 2:12-md-02323-AB Document 7545-1 Filed 04/24/17 Page 4 of 4

CERTIFICATE OF SERVICE

I hereby certify that I caused the foregoing Petition to Establish Attorney’s Fees to be
served via the Electronic Case Filing (ECF) system in the United States District Court for the

Eastern District of Pennsylvania on all parties registered for CM/ECF in the litigation.

Dated: April 24, 2017 fs/__ Jason E. Luckasevic
Jason E. Luckasevic, Esquire
PA Bar No. 85557
11 Stanwix Street, Suite 1800
Pittsburgh, PA 15222
Phone: 412-471-3980
Fax: 412-471-8308
jluckasevic@gpwlaw.com

